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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF GEORGIA

ATLANTA DIVISION
UNITED STATES OF AMERICA
. CRIMINAL INDICTMENT
V. : NO. l:l4-CR-O()227-TCB-RGV
AAR()N BLAKE BUCKLEY,

Defendant.
SENTENCING MEM()RANDUM OF AARON BUCKLEY

Comes now the defendant, Aaron Buckley, by and through his undersigned
counsel, who submits this sentencing memorandum in advance of the April l(), 2017
sentencing hearing
3553 Factors Warranting Departure

Attached to this memorandum is the complete e-mail Mr. Bucl<ley addressing
how he has spent the last few years since his arrest on this indictment Through his
explanations, he has unknowingly highlighted for counsel factors under 18 U.S.C.
§3553 that are pertinent to sentencing Below is a summary of relevant portions of
his activities, as well as an explanation of other issues referenced in the presentence
report.

I. Childhood

l\/[r. Buckley had a somewhat unstable childhood. ln his own words, he “never

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really [led] a normal life” and never “had an education”. By first grade, he had been
removed from any formal education program to be home schooled by his mother.

Shortly thereafter his mother suffered several losses in her family and became
clinically depressed. At that time, any education he was receiving in the home more
or less ceased and l\/Ir. Buckley began to live an extremely isolated life. He rarely left
home with the exception of doctors’ visits. He found his only connection with the
outside world through computers The internet is how he learned to communicate
with others, make friends and self-teach himself The internet contacts were the only
real form of friendship or education he had known. (Buckley e~mail, X)
II. Community Work

Through his virtual life Buckley became involved in a subreddit for LGBTeens.
Reddit is a web-based forum that allows registered users to post content, ask
questions, and communicate with one another. A subreddit is a group within Reddit
with a particular focus. Subreddits generally have moderators and rules to keep the
space safe for participants

Initially his involvement with this particular Subreddit was as a member.
However once l\/Ir. Buckley became more involved in the group and comfortable in
the online community, he began to take a leadership role. He is currently one of the
most active moderators (table attached as Exhibit A). As a moderator, Buckley makes

the rules and guidelines for the group, primarily to keep teens safe from potentially

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predatory behavior. He also addresses the concerns of the group members and
moderates any potential guideline violations

Aside from work within the group, l\/lr. Buckley also has responded to inquiries
from researchers at Harvard, UNC Chapel Hill, the Human Rights Campaign, Robert
H. Lurie Children’s Hospital and the University of Southern California, among
others.

For members, the group essentially serves as an online support group,
providing comfort and advice for those who may not be able to ask for it in their
personal lives. Teenagers seek advice, but so do parents of gay, lesbian, bi~sexual or
transgender teens. The community has prevented self-hatred, self harm, and suicide.
lt has also opened doors for families to be able to navigate the complexities of
sexuality as a youth.

In speaking with Mr. Buckley and reading his personal statement, what is most
obvious is how proud he is of this work. He is the type of person whose purpose is
to help others. (Buckley e-mail, Xll)

III. Post-Offense Rehabilitation

The Supreme Court in Gall v Uniz‘ea’ Stares, affirmed a downward variance
based on po st-offense rehabilitation Before Gczll, several circuits had determined that
pre-sentence rehabilitation may be a valid reason for a sentencing court to depart from

the recommended guideline range.

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As previously stated, Buckley’ s upbringing cannot be characterized as normal.
He found the only release he had, both socially and intellectually, in computers lt
was not until after the return of this indictment that Buckley made an effort to seek
real-world relationships He has since traveled to meet like-minded friends,
volunteered at gaming conventions, and done freelancing for different tech projects
(Buckley e-mail, I-Xl).

Aaron Buckley is a completely different person today than the day the
indictment was issued. He now has the confidence, social skills and practical skills
to be a functioning member of society.

IV. Current Family Situation

l\/lr. Buckley expressed deep concern for what his sentence means for his
family. His younger brother Brent has many complicated health issues He is
constantly traveling interstate to see various specialists He is prone to seizures and
needs round-the~clock care. His gray matter is deteriorating which means his health
will decline. His cognitive and speech impairment will increase over time. He is also
gradually losing his sight.

His other siblings have children who are in the custody of his grandparents
The children cannot stay with l\/[r. Buckley and his mother as loud noises and chaos
can trigger his Brent’s seizures Their mother leaves home, with the other children,

to be at his grandparents on an almost daily basis Aaron is left at home as his

 

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brother’s primary caretaker. The family is concerned about the adverse impact being
removed from the home would mean for his brother and nieces and nephews .
(Buckley e-mail, XII).
Conclusion

In conclusion, given Aaron Buckley’s early and continued cooperation, his
willingness to testify, the circumstances surrounding his upbringing and his post
arrest conduct a period of home confinement followed by supervised release would
be a reasonable sentence that is no harsher than necessary to address the objectives

and criteria of 18 U.S.C. §3553.

Respectfully submitted,

/AA

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CERTIFICATE OF SERVICE
l hereby certify that l have on this day served a true and correct copy of the
within and foregoing pleading upon counsel for the government by electronically

posting through the District Court’s ECF Filing System, addressed as follows:

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This § dayof April ,2016.

Ey § Strongwater

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